                 Case 3:09-cv-01322-TJM-DEP Document 2-1 Filed 11/25/09 Page 1 of 2

AO 440 (Rev. 02/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Northern District
                                                  __________ District of
                                                                      of New York
                                                                         __________

                     Shawna Harrington                             )
                             Plaintiff                             )
                                v.                                 )      Civil Action No. 3:09-CV-1322 TJM/DEP
 John E. Potter, Postmaster General, US Postal Svc.                )
                            Defendant                              )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) John E. Potter
                                         Postmaster General
                                         United States Postal Service
                                         475 L'Enfant Plaza SW
                                         Washington, DC 20260-2202



          A lawsuit has been filed against you.

         Within 20 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Edward E. Kopko, Esq.
                                         Attorney for Shawna Harrington
                                         308 North Tioga Street
                                         Ithaca, New York 14850



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




         Date                                                                 Signature of Clerk




                                                                              _____________________________
                                                                              Signature of Deputy Clerk
                   Case 3:09-cv-01322-TJM-DEP Document 2-1 Filed 11/25/09 Page 2 of 2

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 Civil Action No. 3:09-CV-1322 TJM/DEP

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           ’ I returned the summons unexecuted because                                                                           ; or

           ’ Other (specify):
                                                                                                                                         .


           My fees are $                           for travel and $                 for services, for a total of $   0.00                .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                     Reset
